         Case 8:16-cv-00262-AG-JCG Document 543-1 Filed 08/29/19 Page 1 of 1 Page ID
 AKIN GUMP STRAUSS HAUER & FELD LLP
 ANTHONY T. PIERCE
                                         #:27341
 apierce@akingump.com
 2001 K Street N.W.
 Washington, DC 20006


                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
 In Re Toll Roads Litigation                                            CASE NUMBER
                                                                                             8:16-cv-00262-AG (JCGx)
                                                         Plaintiff(s)
                            v.

                                                                         (PROPOSED) ORDER ON APPLICATION OF
                                                                         NON-RESIDENT ATTORNEY TO APPEAR IN
                                                     Defendant(s).           A SPECIFIC CASE PRO HAC VICE
The Court, having determined whether the required fee has been paid, and having reviewed the Application of
Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
  Pierce, Anthony T.                                                              of     AKIN GUMP STRAUSS HAUER & FELD LLP
  Applicant’s Name (Last Name, First Name & Middle Initial                               2001 K Street N.W.
  202-887-4000                            202-887-4288                                   Washington, DC 20006
  Telephone Number                        Fax Number
  apierce@akingump.com
                               E-Mail Address                                            Firm/Agency Name & Address
for permission to appear and participate in this case on behalf of
  Defendants Foothill/Eastern Transportation Corridor Agency; San Joaquin Hills Transportation Corridor Agency;
  Rhonda Reardon; Michael Kraman; Craig Young; Scott Schoeffel; and Ross Chun

  Name(s) of Party(ies) Represent                                 ☐Plaintiff(s) ☒ Defendant(s) ☐Other:
and designating as Local Counsel
  Kim, Hyongsoon                                                                    of    AKIN GUMP STRAUSS HAUER & FELD LLP
  Designee’s Name (Last Name, First Name & Middle Initial
  257019                      949.885.4100             949.885.4101                       4 Park Plaza, Suite 1900
  Designee’s Cal. Bar No.     Telephone Number          Fax Number                        Irvine, CA 92614
  kimh@akingump.com
                               E-Mail Address                                             Firm/Agency Name & Address
HEREBY ORDERS THAT the Application be:
  ☐GRANTED
  ☐DENIED:            ☐    for failure to pay the required fee.
                      ☐    for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
                      ☐    for failure to complete Application:
                      ☐    pursuant to L.R. 83-2.1.3.2: ☐Applicant resides in California; ☐ previous Applications listed indicate Applicant
                           is regularly employed or engaged in business, professional, or other similar activities in California.
                      ☐    pursuant to L.R. 83-2.1.3.4; Local Counsel: ☐ is not member of Bar of this Court; ☐ does not maintain office
                           District.
                      ☐ because
IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid: ☐ be refunded ☐ not be refunded.
Dated:

                                                                             U.S. District Judge/U.S. Magistrate Judge
 G-64 Order (05/16)   (PROPOSED) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                Page 1 of 1
